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                                                                          6 CHAMBERS
                                                                                                   U.S.D.C ATLANTA
                                                                                                  Jul 20 2021
                                                                                            Date: _________________________
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                         KEVIN P. WEIMER , Clerk
                                                                                               s/Kevin Morris
                                                                                           By: ____________________________
  UNITED STATES OF AMERICA                                                                           Deputy Clerk
  v.                                                                  CRIMINAL COMPLAINT
                                                                      Case Number: 1:21-MJ-0700
  Dawuan Na’Jee Williams
  a/k/a Kyle Evan Cobb                                                UNDER SEAL


I, the undersigned complainant depose and state under penalty of perjury the following is true and
correct to the best of my knowledge and belief. On or about May 21, 2021 in Clayton County, in the
Northern District of Georgia, defendant did, possess a firearm as a prohibited person; make a false and
fictitious oral or written statement in connection with the acquisition of a firearm from a licensed dealer
of firearms, and furnish and exhibit a false, fictitious, and misrepresented identification, intended or
likely to deceive such federally licensed firearms dealer with respect to any fact material to the
lawfulness of the sale or other such disposition of such firearm, and did, during and in relation to a
violation of Title 18, United States Code, Section 922(a)(6), knowingly transfer, possess, and use, without
lawful authority, a means of identification of another person, in violation of Title 18, United States Code,
Sections 922(g)(1), 922(a)(6), and 1028A(a)(1).

I further state that I am a Special Agent and that this complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof.        Yes




                                                         Signature of Complainant
                                                        Benjamin W. Southall


Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to me by telephone pursuant to Federal
Rule of Criminal Procedure 4.1

 July 20, 2021                                            at    Atlanta, Georgia
 Date                                                           City and State



 REGINA D CANNON

 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                             Signature of Judicial Officer
 AUSA Theodore S. Hertzberg
 theodore.hertzberg@usdoj.gov
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           I, Benjamin W. Southall, depose and say under penalty of perjury:

                     INTRODUCTION AND AFFIANT’S BACKGROUND
   1. I am a Special Agent (SA) with the United States Department of Justice, Bureau ofAlcohol,

Tobacco, Firearms, and Explosives (ATF), and have been so employed since 1991. I am currently

assigned to the Atlanta Field Division, Group I, which is involved in various facets of ATF’s

enforcement programs, including firearms trafficking. I am a graduate of the Federal Law

Enforcement Training Center and the ATF National Academy. Prior to becoming an ATF SA, I

was employed by the United States Secret Service Uniformed Division. I also hold a Bachelor’s

degree in Criminology from Indiana University of Pennsylvania.

   2. During my tenure as an ATF SA, I have participated in several investigations, and the

execution of several search warrants and arrest warrants, where illegally purchased/trafficked

firearms, narcotics, electronic scales, packaging materials, books/ledgers indicating sales, receipts,

computers, cellular telephones, and other items used to facilitate firearms and narcotics trafficking

were seized. I have personally conducted and/or assisted in investigations of criminal acts

involving, but not limited to, making false statements to a federally licensed firearms dealer [18

U.S.C. § 922(a)(6)], and I have also conducted multiple investigations into the unlawful possession

of firearms by prohibited persons.

   3. During my tenure as an ATF SA, I have debriefed defendants, co-conspirators, and

witnesses who have been involved in the unlawful purchase, sale, and distribution of firearms.

During these debriefings, numerous defendants have advised that they utilized “straw” purchasers

to obtain firearms and ammunition for transfer/sale to prohibited persons or to facilitate other

crimes.

   4. A “straw purchase” is the acquisition of firearm(s) from a federally licensed firearms dealer

(FFL) via an individual other than the actual purchaser, for the purpose of concealing the identity
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of the true intended receiver of the firearm(s). The intended receiver is often a person who is

prohibited from purchasing firearms and seeks to obtain the firearms through the “straw purchaser”.

   5. I have learned through my training and experience that firearms traffickers and “straw

purchasers” frequently use cell phones, computers, and other electronic media devices to coordinate

the purchase, sale, and/or distribution of firearms.

   6. The facts contained in this affidavit come from my personal observations, ATF

records/documents, my training and experience, information obtained from other agents and

witnesses, and other law enforcement agencies. This affidavit is intended to show that there is

sufficient probable cause for the requested criminal complaint authorizing the arrest of Dawuan

Na’Jee WILLIAMS a/k/a Kyle Evan Cobb (hereinafter WILLIAMS), for violations of Title 18,

United States Code, Section 922(g)(1) [possession of a firearm by a prohibited person], Title 18,

United States Code, Section 922(a)(6) [making false statements to a federally licensed firearms

dealer], and Title 18, United States Code, Section 1028A [aggravated identity theft], and does not

set forth all my knowledge about this matter.

                                       PROBABLE CAUSE
   7. On May 29, 2021, Detectives of the Newark Police Division in Newark, New Jersey arrested

an individual in possession of a Glock model 17, 9mm semi-automatic pistol bearing serial number

BTNC309. The subsequent firearms trace by the ATF’s National Tracing Center revealed that the

firearm was purchased as part of a five-firearm multiple sale on May 21, 2021 at the Moss Pawn

Shop (MPS), a FFL located at 6832 Old Dixie Highway, Jonesboro, Georgia, 30236, in the Northern

District of Georgia. The firearms trace revealed the purchase was made by Kyle Evan Cobb,

residing at 9379 Highland Ridge, Jonesboro, Georgia, 30236.

   8. Based on the eight-day period between the purchase of the firearm in Georgia and the

recovery of the firearm in New Jersey, another ATF employee conducted queries of commercial


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databases and state driver’s license records for COBB. A query of the Georgia driver’s license

records for COBB returned a current driver’s license bearing number 061864592 and listing the

address of 9379 Highland Ridge in Jonesboro, Georgia. During their research, the ATF employee

identified that a Kyle Cobb with the same date of birth previously resided in the state of Florida. A

query of the Florida Driver’s License records for COBB returned an expired driver’s license bearing

number C100505960640, which listed an address of 9379 Highland Ridge in Jonesboro, Georgia.

However, the driver’s license record contained a notification stating, “Verify ID – Possible Imposter

Using This Name/DL.” Furthermore, the individual’s photograph listed on the Florida driver’s

license record did not match the individual’s photograph listed on the Georgia driver’s license

record.

   9. Additionally, the ATF employee conducted a commercial database query for 9379 Highland

Ridge in Jonesboro, Georgia. The ATF employee identified that a Dawuan WILLIAMS previously

resided at 9379 Highland Ridge and previously resided in Florida. The ATF employee conducted

queries of the Georgia and Florida driver’s license records for WILLIAMS. The query of the

Florida driver’s license records for WILLIAMS revealed that WILLIAMS possessed a valid Florida

driver’s license bearing number W452174821870 with an address listed as 416 Montgomery Place

in Jonesboro, Georgia. The photograph on WILLIAMS’ Florida driver’s license bore a nearly

identical resemblance to the Georgia driver’s license photograph for COBB.

   10. The ATF employee conducted a computerized criminal history check of WILLIAMS and

identified that WILLIAMS had been convicted in Florida and New Jersey of numerous crimes

punishable by imprisonment for a term exceeding one year, including but not limited to Burglary,

Robbery, Terroristic Threats, and Criminal Use of Personal Identification Information.




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   11. Furthermore, the ATF employee identified that WILLIAMS, using the identity of Kyle

Cobb, completed at least six separate purchases of firearms in the Northern District of Georgia

between October 10, 2020 and June 6, 2021.

   12. On June 7, 2021, ATF SA Michael Bustard met with an employee at MPS to discuss the

May 21 firearms purchase described above. The MPS employee told SA Bustard that on May 21,

2021, WILLIAMS, using the identity of Kyle Cobb, paid $4,081.14 in cash for six firearms, thirteen

boxes of ammunition, three magazines (including 100-round drum magazine), and a firearms

cleaning kit.

   13. Before completing a purchase at MPS, WILLIAMS completed ATF Form 4473, the

Firearms Transaction Record, as required. WILLIAMS completed section B of the document which

requires the Transferee/Buyer to enter his or her personal identifying information, including full

legal name, date of birth, Social Security number, address, height/weight, place of birth, ethnicity,

and race. WILLIAMS listed the first and last name, date of birth, and Social Security number of

Kyle Evan COBB on the ATF Form 4473.

   14. In addition, WILLIAMS answered “yes” to question 21a on ATF Form 4473, which asks,

“Are you the actual transferee/buyer of the firearm(s) listed on this form and any continuation

sheet(s) (ATF Form 5300.9A)? Warning: You are not the actual transferee/buyer if you are

acquiring the firearm(s) on behalf of another person. If you are not the actual transferee/buyer, the

licensee cannot transfer the firearm(s) to you.” A truthful answer to question 21a is material to the

lawfulness of the sale because the firearms dealer must determine the correct person and possessor

of the firearm upon which to run the required background check.




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   15. In block 26a on the ATF Form 4473, another MPS employee listed the identification

produced by the purchaser during the transaction. The MPS employee listed the purchaser’s

identification as a Georgia ID bearing number 061864592 with an expiration of February 24, 2028.

   16. On page two of ATF Form 4473, a certification is given. Part of the certification states, “I

also understand that making any false oral or written statement, or exhibiting any false

misrepresented identification with respect to this transaction, is a crime punishable as a felony under

Federal law, and may also violate State and/or local law. I further understand that the repetitive

purchase of firearms for the purpose of resale for livelihood and profit without a Federal firearm

license is a violation of Federal law.” WILLIAMS signed as Cobb and dated the form certifying

that all of his answers were true and correct.

   17. At least one firearm purchased on May 21, 2021 was manufactured outside the State of

Georgia, and thus necessarily traveled in interstate commerce prior to May 21, 2021.

                                          CONCLUSION
   18. Based on the foregoing, there is probable cause to believe that on May 21, 2021, Dawuan

Na’jee WILLIAMS violated Title 18, United States Code, Section 922(g)(1) [possession of a

firearm by a prohibited person], Title 18, United States Code, Section 922(a)(6) [makingfalse

statements to a federally licensed firearms dealer], and Title 18, United States Code, Section1028A

[aggravated identity theft] in the Northern District of Georgia.




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